               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONALD J. TRUMP, in his capacity as        )
a candidate for President of the United    )
States,                                    )
                                           )
       Plaintiff,                          ) CIVIL ACTION NO.
                                           ) 1:20-cv-05310-MHC
v.                                         )
                                           )
BRIAN P. KEMP, in his official             )
capacity as Governor of the State of       )
Georgia; BRAD RAFFENSPERGER, in )
his official capacity as Georgia Secretary )
of State,                                  )
                                           )
       Defendants.                         )



   DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
   MOTION FOR EXPEDITED DECLARATORY AND INJUNCTIVE
                        RELIEF
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                                  INTRODUCTION

      On November 3, 2020, approximately 5 million Georgians voted for President

of the United States (“the Election”). Pursuant to U.S. Const. art. II, § 1, cl. 2, 3

U.S.C. §§ 1, 5 and 6, O.C.G.A. §§ 21-2-10 and 21-2-499, these votes were counted,

hand counted during an audit, certified, recounted, and re-certified under Georgia

law. The slate of presidential electors has been sent by Governor Kemp to the

Archivist of the United States in conformity with 3 U.S.C. § 6. Pursuant to U.S.

Const. art. II, § 1, cls. 2 and 3, 3 U.S.C. §§ 7, 8, 9, 10, 11 and 12, and O.C.G.A. §

21-2-11, the electors have already met and cast their votes for President. The

election, certification, and casting of ballots are final and over. The matter is now

before Congress as set forth in 3 U.S.C. § 15 to count the certified votes. Georgia

has completely complied with all requirements under the United States Constitution,

federal and state election law.

      There have been numerous suits filed since the November 3, 2020, general

election, challenging most of the issues set forth in Plaintiff’s motion. In all resolved

suits, the claims have been flatly rejected. Plaintiff nevertheless seeks to

disenfranchise millions of Georgia voters at the thirteenth hour—despite Plaintiff’s

own dilatory and confusing actions. Plaintiff lacks standing to bring the claims at

issue, the Court should abstain from deciding this matter, and Plaintiff’s claims are
                                           1
moot and otherwise frivolous. Moreover, trial is currently scheduled for Friday,

January 8, 2020, in the Superior Court of Fulton County, Georgia to address

Plaintiff’s claims. Plaintiff’s request for preliminary injunction should be denied as

Plaintiff has no likelihood of success on the merits of his claims, he has been dilatory

in asserting his claims, and the equities weigh in favor of denying preliminary

injunctive relief.

                         FACTUAL BACKGROUND

       Pursuant to United States Constitution art. II, Georgia has legislatively

chosen to permit election of presidential electors by popular vote. See O.C.G.A. §

21-2-10. On November 3, 2020, nearly 5 million Georgians cast ballots in the

Election pursuant to this legislatively-enacted framework. The majority of votes cast

were in favor of Joseph Biden. On November 11, 2020, Secretary Raffensperger

announced a risk-limiting audit pursuant to O.C.G.A. § 21-2-498. While the

Secretary could have merely selected a sampling of ballots of any race to conduct

this audit, he authorized a hand recount of all the nearly 5 million ballots cast. This

audit confirmed the outcome of the election, and on November 20, 2020, Secretary

Raffensperger and the Governor certified that Joseph Biden had prevailed over

President Donald Trump. See Exhibit A.



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      On November 21, 2020, President Trump submitted his official request for a

recount of the results of the election pursuant to O.C.G.A. § 21-2-495(c). See

Exhibit B. This recount concluded on December 4, 2020. Secretary Raffensperger

certified the results again on December 7, 2020. See Exhibit C. Governor Kemp

certified the results of the recount on December 7, 2020, and submitted the

Certificate of Ascertainment to the Archivist of the United States pursuant to 3

U.S.C. § 6. See Exhibit D. Georgia’s presidential electors met on December 14,

2020 and cast their ballots for president.

      Under Georgia law, neither the Secretary of State’s certification of the

Election results nor the Governor’s certification of the slate of electors pursuant to

O.C.G.A. § 21-2-499(b) can be undone. That section provides:

      The Secretary of State shall also upon receiving the certified returns for
      the presidential electors, proceed to tabulate, compute, and canvass the
      votes for each slate of presidential electors and shall immediately lay
      them before the Governor. Not later than 5:00 P.M. on the seventeenth
      day following the date on which such an election was conducted, the
      Secretary of state shall certify the votes cast for all candidates described
      in subparagraph (a)(4)(A) of Code section 21-2-497 and upon all
      questions voted for by the electors of more than one county and shall
      no later than that same time lay the returns for the presidential election
      before the Governor. The Governor shall enumerate and ascertain the
      number of votes for each person so voted and shall certify the slates of
      presidential electors no later than 5:00 P.M. on the eighteenth day
      following the date on which [the] election was conducted.




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The people, the Secretary, and the Governor all complied with and discharged their

obligations under Georgia and federal law—as have the presidential properly

certified presidential electors.

      Had Plaintiff not acted in a dilatory manner, Plaintiff could have sought relief

under O.C.G.A. § 21-2-499(b), which provides: “Notwithstanding the deadlines

specified in this Code section, such times [for certification by the Governor and the

Secretary of State] may be altered for just cause by an order of a judge of the superior

court.” Plaintiff, having never exercised his right to seek or secure the sole relief

provided by the General Assembly to delay certification of the presidential election,

cannot now seek to retroactively undo the completed acts.

      Moreover, while Plaintiff blames the Superior Court of Fulton County for not

acting in timely manner to adjudicate his rights, Plaintiff himself is the cause of any

delay in the superior court. Plaintiff never asserted the challenges he raised in the

Superior Court in Fulton County prior to the Election. Nor did Plaintiff file any

challenge in the month after the Election. Rather, Plaintiff waited to file his challenge

until December 4, 2020, in Fulton County Superior Court. Plaintiff’s filing was

initially rejected because he failed to pay filing fees. That suit was accordingly not

docketed until December 7, 2020—the same day the Secretary and the Governor




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again certified the Election results and the day the Governor transmitted the

certification of the slate of presidential electors to the Archivist of the United States.

      Despite his late filing, Plaintiff also sought “emergency relief” seeking to stop

the election certification in the superior court on December 7, 2020. See Exhibit E.

Plaintiff voluntarily withdrew that request the following day. See Exhibit F. On

December 10, 2020, Petitioners filed a motion to appoint a judge in the superior

court election matter pursuant to O.C.G.A. § 21-2-523 See Exhibit G. The next day,

on December 11, 2020, Plaintiff simultaneously filed a Second Motion for

Emergency Injunctive Relief asking the superior court to decertify the election, and

a “notice of appeal and intention to seek writ of certiorari to the Supreme Court of

Georgia.” See Exhibits H and I. That appeal, though improvident, ill-conceived,

and meritless, divested the Superior Court of Fulton County of any jurisdiction over

the matter. The Superior Court of Fulton County reminded Plaintiff of this on

December 29, 2020, when it entered an order noting that Plaintiff’s appeal had

divested the superior court of jurisdiction and thus the “Court [could] not consider

[Plaintiffs’ request to appoint a judge pursuant to O.C.G.A. § 21-2-523] until either

the appeal is concluded or the notice of appeal is withdrawn.” See Exhibit J.

      Rather than acting immediately, Plaintiff waited until the next day, December

30, 2020 to actually withdraw the appeal. See Exhibit K. The superior court then,

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that same day, entered an order to start the judicial appointment process and that

same day, the Honorable Adele Grubbs was appointed to hear Plaintiff’s election

dispute. See Exhibit L. The day after she was assigned, Judge Grubbs set the trail

date in the state court matter for January 8, 2020. That same day, December 31,

2020, Plaintiff filed the present suit.

              ARGUMENT AND CITATION OF AUTHORITIES

I.     The Court Lacks Subject Matter Jurisdiction because Plaintiff Cannot
       Establish Article III Standing.

       The Eleventh Circuit recently emphasized that federal courts are not

“constituted as freewheeling enforcers of the Constitution,” and “may not entertain

post-election contests about garden-variety issues of vote counting and misconduct

that may properly be filed in state courts.” Wood v. Raffensperger, No. 20-14418,

2020 U.S. App. LEXIS 37971 at *2, 10 (11th Cir. Dec. 5, 2020). Accordingly,

federal courts have an independent obligation to ensure that subject-matter

jurisdiction exists before reaching the merits of a dispute. Jacobson v. Fla. Sec’y of

State, 974 F.3d 1236, 1245 (11th Cir. 2020). “For a court to pronounce upon . . . the

constitutionality of a state or federal law when it has no jurisdiction to do so is, by

very definition, for a court to act ultra vires.” Id. (citation omitted).

       Article III of the Constitution limits the subject-matter jurisdiction of federal

courts to “Cases” and “Controversies.” U.S. Const. art. III, § 2. A party invoking
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federal jurisdiction bears the burden of establishing standing at the commencement

of the lawsuit. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). As an

irreducible constitutional minimum, Plaintiff must show he has (1) suffered an injury

in fact, (2) that is fairly traceable to the challenged conduct of the defendants, and

(3) that is likely to be redressed by a favorable judicial decision. Id. at 561. As the

party invoking federal jurisdiction, Plaintiff bears the burden at the pleadings phase

of “clearly alleg[ing] facts demonstrating each element.” Spokeo, Inc. v. Robins, 136

S. Ct. 1540, 1547 (2016).

      Plaintiff’s Complaint alleges two constitutional violations: (1) that

Defendants violated the Electors Clause, U.S. Const. art. II, § 1, cl. 2, by certifying

the general election results (Count I); and (2) that Defendants violated the Due

Process Clause of the Fourteenth Amendment by certifying the general election

results while the state election contest was pending (Count II). (Doc. 1 at 27-28). In

support of standing, Plaintiff alleges that he has “a cognizable interest in the outcome

of the 2020 election” and that the presidential election results in Georgia “are not

accurate as they contain illegal votes and should have been invalidated had the state

contest proceeding been properly conducted and properly allowed to proceed to

conclusion.” (Doc. 1 at 21, ¶¶ 51, 52). However, because Plaintiff’s allegations are

insufficient to establish an injury in fact that is traceable to the Defendants, he cannot

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establish standing and the Court lacks jurisdiction to consider the merits of Plaintiff’s

motion.

   A. Plaintiff lacks standing to assert a claim under the Electors Clause.

      Plaintiff alleges that the general election was “not conducted in accord with

election laws established by the Legislature.” (Doc. 1 at 27 ¶ 71). However, federal

courts are not venues for parties to assert a bare right “to have the Government act

in accordance with law.” Allen v. Wright, 468 U.S. 737, 754 (1984).

      Specifically, courts have held that only state legislatures have standing to

bring a claim under the Electors Clause. In Bognet v. Secretary Commonwealth of

Pennsylvania, No. 20-3214, 2020 U.S. App. LEXIS 35639 (3d Cir. Nov. 13, 2020),

the Third Circuit held that a candidate for federal office, along with four individual

voters, lacked standing to sue for alleged injuries attributable to a state government’s

violations of the Elections Clause and Electors Clause. Id. at *19. The Court stated,

“[b]ecause Plaintiffs are not the General Assembly, nor do they bear any conceivable

relationship to state lawmaking processes, they lack standing to sue over the alleged

usurpation of the General Assembly’s rights under the Elections and Electors

Clauses.” Id. at *21; see also Lance v. Coffman, 549 U.S. 437, 442 (2007) (“The

only injury plaintiffs allege is that the law—specifically the Elections Clause—has

not been followed.”); Dillard v. Chilton Cty. Comm’n, 495 F.3d 1324, 1332-33 (11th

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Cir. 2007) (holding that an allegation that the law has not been followed is “the kind

of undifferentiated, generalized grievance about the conduct of government” that

will not satisfy standing); Wood v. Raffensperger, No. 1:20-cv-04651-SDG, 2020

U.S. Dist. LEXIS 218058, at *15-16 (N.D. Ga. Nov. 20, 2020) (holding that private

plaintiff lacked standing to sue under Electors and Elections Clauses).1

       Because Plaintiff is not a member of the Georgia General Assembly, he lacks

standing to sue under the Electors Clause, and the Court lacks jurisdiction to

entertain Count I.

    B. Plaintiff lacks standing to assert a claim under the Due Process Clause.

       Plaintiff’s due process claim is based on his allegations that “illegal votes were

counted” and that Defendants “improperly certified” the general election results

“while a statutory election contest was pending.” (Doc. 1 at 27-28, ¶¶ 73, 74). Setting

aside the fact that Defendants had a statutory duty to certify the presidential electors

by November 20, 2020, Plaintiff’s allegations fail to satisfy the causation

requirement of standing, which requires that “a plaintiff’s injury must be ‘fairly

traceable to the challenged action of the defendant, and not the result of the

independent action of some third party not before the court.’” Jacobson, 974 F.3d at


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 Because the Electors and Elections Clauses have “considerable similarities,” they
are interpreted similarly with respect to standing. Bognet, 2020 U.S. App. LEXIS
35639 at *19.
                                           9
1253 (citation omitted); see also Hollywood Mobile Estates Ltd. v. Seminole Tribe

of Fla., 641 F.3d 1259, 1265 (11th Cir. 2011) (holding that an injury sufficient to

establish standing cannot “result [from] the independent action of some third party

not before the court.”).

      Here, Plaintiff’s allegation that “illegal” votes were counted is traceable to the

actions of county elections officials—not the Defendants. Under Georgia law,

county elections officials are solely responsible for processing, validating, and

tabulating both absentee and in-person ballots. See O.C.G.A. §§ 21-2-386; 21-2-493.

As such, Plaintiff’s claimed injury resulting from alleged irregularities in the

signature verification process for absentee ballots or the tabulation of votes is not

traceable to or redressable by the Secretary or the Governor. See Jacobson, 974 F.3d

at 1253 (concluding that alleged injury from state’s ballot order statute was not

traceable to or redressable by the Secretary of State because county election

superintendents were “independent officials who are not subject to the Secretary’s

control”).

      Recently, the Eleventh Circuit denied a motion for an injunction pending

appeal of the district court’s dismissal of an elections case brought by the Perdue

and Loeffler Senate campaigns for lack of standing. Ga. Republican Party, Inc. v.

Ga. Sec’y of State, No. 20-14741-RR, 2020 U.S. App. LEXIS 39969, at *5-7 (11th

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Cir. Dec. 21, 2020). Finding that the Secretary does not control the processing and

counting of absentee ballots by county officials, the Court cited Jacobson in holding

that the “Campaigns have failed to make a strong showing that they have standing

to bring their constitutional claims because they have failed to demonstrate that any

alleged injury is traceable to, and redressable by, the State.” Id. at *7.

      Moreover, Plaintiff’s allegation that he has been injured because his election

contest has not yet been heard in state court is also not the result of any action by the

Defendants. Defendants complied with their statutory obligations to certify the

presidential electors in a timely manner. Any delay in the hearing of Plaintiff’s

election contest was caused by Plaintiff’s own dilatory actions in pursuing his claim

and his improvidently-filed appeal. In sum, having failed to establish that he has

suffered an injury in fact, or that his purported injury is traceable to or redressable

by the Defendants, Plaintiff lacks standing and his motion should be denied.

II.   Plaintiff’s Claims are Moot.

      The Election is over, the votes have been counted three times, the votes are

certified, and the presidential electors have cast their ballots. As it relates to any

relief that could be afforded against the Secretary of State and the Governor, this

matter is moot. The Election and certification processes followed the course

proscribed by both the Georgia General Assembly and federal law. See O.C.G.A. §§

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21-2-210, 21-2-11, 21-2-499; 3 U.S.C. §§ 1, 6, 7, 8, 9, 10, 11 and 12. The deadlines

for the Governor and Secretary of State to certify the presidential election were not

altered pursuant to O.C.G.A. § 21-2-499(b). Thus all relief sought by Plaintiff has

been mooted by their delay.

      The Eleventh Circuit held in Wood that federal challenges seeking to undo the

certification of the presidential election results in Georgia are moot. “‘We cannot

turn back the clock and create a world in which’ the 2020 election results are not

certified.” Wood, 2020 U.S. App. LEXIS 37971 at *19 (quoting Fleming v.

Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015)). Accordingly, the case “no longer

presents a live controversy with respect to which the court can give meaningful

relief.” Troiano v. Supervisor of Elections in Palm Beach Cty., Fla., 382 F. 3d 1276,

1282 (11th Cir. 2004). Mootness is jurisdictional; a federal court may only

adjudicate cases and controversies, and a ruling that cannot provide meaningful

relief is an impermissible advisory opinion. Id.

      The Court “cannot prevent what has already occurred.” De La Fuente v.

Kemp, 679 F. App’x 932, 933 (11th Cir. 2017). While Plaintiff purportedly seeks

“decertification” of the certifications that Secretary Raffensperger and Governor

Kemp have already executed, he cites to no authority whatsoever to support the

notion that a court could order such relief. The Georgia General Assembly has

                                         12
provided for no process for decertification of election results and thus none exists.

This Court should not now intervene in or alter the election process chosen by the

General Assembly without running afoul of Bush v. Gore, 121 S. Ct. 525, 530-35

(2000), in which the Supreme Court stated, “[w]ith respect to a Presidential election,

the court must be both mindful of the legislature’s role under Article II [of the U.S.

Constitution] in choosing the manner of appointing electors and deferential to those

bodies expressly empowered by their legislatures to carry out its constitutional

mandate.” Id.

       Plaintiff could have timely sought and obtained an order to halt or extend the

certification pursuant to O.C.G.A. § 21-2-499(b), but he did not do so. The General

Assembly’s choice to place certification deadlines in O.C.G.A. § 21-2-499(b) and to

place a deadline by which the presidential electors must vote in O.C.G.A. § 21-2-11,

shows that the General Assembly wanted to ensure Georgia’s presidential electoral

votes would be counted and timely cast under federal law. See 3 U.S.C. §§ 2, 5, 6,

7, 11, 12, 13, and 14. This choice cannot be undone.

III.   Plaintiff’s Claims are Barred by Laches.

       In addition to his claims being moot, Plaintiff’s inexcusable delay in bringing

his claims warrants denial of his motion. Laches bars a request for equitable relief

when (1) the plaintiff delays in asserting the claim; (2) the delay is not excusable,

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and (3) the delay causes the non-moving party undue prejudice.” United States v.

Barfield, 396 F.3d 1144, 1150 (11th Cir. 2005). In the context of elections, “any

claim against a state electoral procedure must be expressed expeditiously.” Fulani

v. Hogsett, 917 F.2d 1028, 1031 (7th Cir. 1990). As time passes, the state’s interest

in proceeding with the election increases in importance as resources are committed

and irrevocable decisions are made. Id.

      First, the Plaintiff failed to timely assert his claims. Plaintiff’s Complaint

contains two counts for alleged constitutional violations and a prayer for relief that

mirrors the petition he filed in the Superior Court of Fulton County over a month

ago.2 All of the Plaintiff’s (baseless) allegations of misconduct occurred months ago,

or at the latest, shortly after the Election. Nevertheless, the Plaintiff waited until

almost two months after the election, immediately before the election certification,

and a mere six days before the federally required tabulation of electoral votes by the

United States Congress, to file the instant suit. Rather than bring his claims in a

timely manner and provide the Defendants and the Court the opportunity to consider

their allegations in a more thoughtful way, the Plaintiff manufactured a crisis, with


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        As fully set forth in Defendant Raffensperger’s Motion to Dismiss filed in
the Fulton County Superior Court, Petitioners’ claims in that suit were also barred
by Laches for these same reasons. The fact that these same claims were brought
almost a month ago in a different forum further demonstrate Plaintiff’s inexcusable
delay in filing the instant suit.
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the goal being less about policing the electoral system and more about thrusting

Georgia into an electoral and constitutional maelstrom.

      Every one of Plaintiff’s counts in the Complaint could have been brought

significantly sooner than December 31, 2020. In Counts I and II, the Plaintiff broadly

alleged that the “evidence” of fraud outlined in their Complaint caused the State of

Georgia to “improperly certif[y] the November 3, 2020 General Election Results.”

See Complaint, ¶¶ 70-75. But these supposed failures, assuming they occurred at all,

occurred either months before the election (in the case of Plaintiff’s claims

concerning the Consent Decree) or immediately after the election. Allegations of

improprieties with the sending out of absentee ballots or voter registration (which

closed in early October) could have, and should have, been made months ago. See

Boland v. Raffensperger, No. 2020CV343018, slip op. at 6 (Fulton Cty. Sup. Ct.

Dec. 8, 2020) (dismissing election challenge as barred by laches “where Plaintiff

challenge[d] the validity of the presidential election after it ha[d] already been

conducted based on procedures which were adopted long before the election and

upon which elections officials and voters alike relied.”).

      This is also the case with the alleged unconstitutional Settlement Agreement.

This Settlement Agreement was finalized in March of 2020, and the Plaintiff could

have challenged the agreement then, but neglected to do so. When the Settlement

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Agreement was challenged in 2020 by Lin Wood, the Court found the Settlement

Agreement was constitutional. See Wood v. Raffensperger, 2020 WL 6817513, at

*4.

      Second, these delays are not excusable. As it relates to the allegations of

illegal votes, this information was known to the Plaintiff, at the very least, shortly

after the election. There is simply no reason for the Plaintiff’s delay until December

31, just days before the electoral votes are counted. Furthermore, and perhaps most

importantly, many of the delays associated with both the Fulton County case and the

instant case are the result of procedural errors by the Plaintiff. For example, Plaintiff

filed his original challenge in Fulton County on December 4, 2020, yet Plaintiff

failed to pay the filing fee. Then, once the action was properly filed the following

week, the Plaintiff filed, then withdrew, his Request for Emergency Relief. Then,

the Plaintiff improperly filed a premature and dilatory Notice of Appeal to the

Georgia Supreme Court, “effectively depriving [Fulton County Superior Court] of

its ability to take any actions on this matter, including any reassignment.” Trump v.

Raffensperger, No. 2020CV343255, slip op. at 2 (Fulton Cty. Sup. Ct. Dec. 30,

2020). Once the Plaintiff withdrew his improper appeal, the matter was properly

referred to a judge in accordance with the Georgia Election Code. With respect to

the instant suit, the Plaintiff also did not follow proper procedures for a timely

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hearing. As explained in this Court’s January 4, 2020 Order, this Court was not even

made aware of the Plaintiff’s filing until today as a result of the Plaintiff’s failure to

properly use the Court’s ECF system for an emergency hearing. As such, the

Plaintiff’s delays in obtaining judicial relief are due to Plaintiff’s own errors.

      Finally, allowing this action to go forward would cause severe undue

prejudice. The United States Congress is slated to meet and tabulate the electoral

votes on January 6, 2021—just two days from today. The Plaintiff knew of many of

the allegations in his Complaint months ago, and waited until the eleventh hour to

file this suit. Granting Plaintiff’s requested relief would thrust the State of Georgia

into constitutional chaos, would deprive millions of Georgians of their legally cast

votes, and would cost the state millions of tax payer dollars. Such an absurd result

should not be permitted.

IV.   Plaintiff’s Claims are Barred by the Eleventh Amendment.

      Plaintiff’s claims against Governor Kemp and Brad Raffensperger in their

official capacities are also barred by the Eleventh Amendment. The Eleventh

Amendment bars suit against a State or one of its agencies, departments or officials,

absent a waiver by the State or a valid congressional override, when the State is the

real party in interest. Kentucky v. Graham, 473 U.S. 159, 169 (1985). Because claims

against public officials in their official capacities are merely another way of pleading

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an action against the entity of which the officer is an agent, “official capacity” claims

against a state officer are included in the Eleventh Amendment’s bar. Id. at 165.

      While Ex Parte Young provides for an exception to Eleventh Amendment

immunity, it does so only for prospective injunctive relief grounded in a violation of

federal law. See Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 105–

106 (1984). In other words, “the Young doctrine rests on the need to promote the

vindication of federal rights,” and is “inapplicable in a suit against state officials on

the basis of state law.” Id. at 105–06 (emphasis added). Here, Plaintiff nominally

alleges a federal right, but he has not indicated how the state law actually burdens

any such right.

      Moreover, the Young exception is limited to suits against state officers for

prospective injunctive relief. Arizonans for Official English v. Arizona, 520 U.S. 43,

69 n. 24 (1997). “A federal court cannot award retrospective relief, designed to

remedy past violations of federal law.” Id. Plaintiff’s claims for injunctive and

declaratory relief, premised on the conduct of the November general election and

the certification of results that have already taken place, are barred because they are

retrospective in nature. “Retrospective relief is backward-looking, and seeks to

remedy harm ‘resulting from a past breach of a legal duty on the part of the defendant

state officials.’” Seminole Tribe of Fla. v. Fla. Dep’t of Revenue, 750 F.3d 1238,

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1249 (11th Cir. 2014) (citation omitted). “Simply because the remedy will occur in

the future, does not transform it into ‘prospective’ relief. The term, ‘prospective

relief,’ refers to the ongoing or future threat of harm, not relief.” Fedorov v. Bd. of

Regents, 194 F. Supp. 2d 1378, 1387 (S.D. Ga. 2002). Plaintiff’s claims for any relief

related to the miscounting of votes or election irregularities are entirely retrospective

and barred by the Eleventh Amendment.

V.    The Court Should Abstain from Hearing Plaintiff’s Claims While the
      State Election Contest is Pending.

      Plaintiff seeks unprecedented and extraordinary relief at the thirteenth hour

seeking to challenge state court determinations and litigate issues raised previously

in a state court proceeding initiated weeks before the commencement of this parallel

federal proceeding. This Court should decline to entertain the relief sought by

Plaintiff, as the state courts have the full authority and expertise to consider the issues

raised by Plaintiff and would have done so were it not for the actions of Plaintiff.

The relief that Plaintiffs seeks is a setting aside of the state law process for the

election and certification of the slate of presidential electors for Georgia and the

creation, by judicial fiat, of a non-statutory remedy that would disenfranchise the

electorate of Georgia.

      There are numerous problems with this proposed relief. First, it violates the

principles of federalism. Second, the Pullman doctrine warrants dismissal. Finally,
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and at the very least, this lawsuit should be stayed, and all emergency relief should

be denied at this juncture, pending the outcome of Plaintiff’s state election challenge

pursuant to the Colorado River doctrine. There is no indication in the record, nor

any legitimate or supported argument propounded by Plaintiff, that the state court

action will not proceed expeditiously now that the improvidently chosen

interlocutory appellate strategy employed by the Plaintiff has been abandoned and

jurisdiction has been returned to the superior court.

      Plaintiff pays lip service to his claims being made under federal law, but the

actual arguments that he advances belie that assertion. Instead, Plaintiff comes to

this court arguing that “violations of state law … occurred in the election of

November 3, 2020,” and that these state law violations led to a violation of the

Electors Clause, art. II, § 1, cl. 2. Complaint, ¶67 (emphasis added). Additionally,

Plaintiff asserts factually unsupported and risible allegations about non-party county

officials who allegedly allowed tens of thousands of unqualified individuals to cast

ballots. Plaintiff continues with assertions again against non-party county officials

that those county officials allegedly impeded observation of the tabulation process.

Even assuming there was any merit to the delusive claims raised by Plaintiff, core

principles of federalism prevent a federal court from intruding on the decisions that




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a state sovereign has made in establishing the electoral system for casting, tabulating,

and certifying election results.

      Consistent with the express authority granted to it under the Electors Clause,

the Georgia Legislature has established the manner of appointing presidential

electors, to wit: a statewide vote. Concurrent with that statutory process, and

likewise by statutory enactment, the Legislature has delegated authority to the State

Board of Elections to issue regulations to ensure that this happens, including the

statutory prescription to “obtain uniformity in the practices” amongst local election

officials. O.C.G.A. § 21-2-31. Plaintiff attacks a settlement agreement entered into

by the State Election Board on March 6, 2020, almost eight full months prior to

Plaintiff’s loss in the November 3, 2020, election (and which has been in place

through the imminent conclusion of Georgia’s fifth statewide election during this

election cycle).

      Plaintiff’s belated attack on the sovereignty of the decisions made by

Georgia’s legislature, as well as the repeated assaults of the legitimacy of democratic

elections, all fly in the face of our federal framework for selecting our elected

leaders. Instead, Plaintiff advocates for the judicial rejection of the state’s selected

framework for resolving disputes in the selection of presidential electors under 3

U.S.C. § 5 with a non-statutory procedure that apparently Plaintiff believes may

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reject the expressed will of the Georgia electorate and hand Georgia’s already cast

electoral votes into his column. This argument is incompatible with all principles of

democracy and federalism as well as Congress’s deference to state-court

mechanisms for resolving presidential election disputes.

      The relief sought here is particularly offensive to federalism principles in light

of the fact that the presidential election was conducted over two months prior and

there are pending election challenges in Georgia state court that significantly mirror

the claims brought in this lawsuit. It is hard to imagine a more significant challenge

to federalism than for a party to request a federal court to usurp a state sovereign’s

delegation to its own state judiciary the authority to adjudicate electoral disputes in

currently pending state court cases, especially when any delay in the state court

administration was caused by the actions of the Plaintiff.

      These concerns are recognized by the Pullman doctrine, which provides that

“a federal district court is vested with discretion to decline to exercise or to postpone

the exercise of its jurisdiction in deference to state court resolution of underlying

issues of state law.” Harman v. Forssenius, 380 U.S. 528, 534, (1965) (citing

Railroad Comm’n v. Pullman Co., 312 U.S. 496, 61 (1941)). The need to abstain

under the Pullman doctrine arises and is proper “[w]here resolution of the federal

constitutional question is dependent upon, or may be materially altered by, the

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determination of an uncertain issue of state law, . . . in order to avoid unnecessary

friction in federal-state relations, interference with important state functions,

tentative decisions on questions of state law, and premature constitutional

adjudication.” Harman, 380 U.S. at 534.

      Here, the constitutional issue presented, whether there is some federal

constitutional violation arising from the woefully unsupported rambling about

alleged violations of state law, is plainly a state law question masquerading as an

alleged federal constitutional deprivation. In other words, the Court cannot answer

the constitutional question without first deciding whether state actors violated their

authority under state law. This is a classic Pullman situation, which examines and

requires that “(1) the case presents an unsettled question of state law, and (2) the

question of state law is dispositive of the case or would avoid, or substantially

modify, the constitutional question presented.” Rindley v. Gallagher, 929 F. 2d

1552, 1554-55 (11th Cir. 1991) (citing Duke v. James, 713 F.2d 1506, 1510 (11th

Cir. 1983). Even assuming arguendo that this Court believes that there is a question

as to whether the acts of the state officials exceeded their statutory authority, this

Court should decline to entertain Plaintiff’s request for emergency relief under

Pullman.




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      For a similar reason, Plaintiffs’ requested relief violates the Colorado River

Doctrine. Plaintiff has a pending state election challenge, for which trial is set to

commence this Friday, January 8, 2020. That action raises identical claims as the

Plaintiff raises here, except that this case also seeks to argue that state officials have

violated the Plaintiff’s right to a speedy state court resolution of his claims due

entirely to Plaintiff’s own inept handling of his state court action. The Eleventh

Circuit has indicated that a stay of federal proceedings is clearly warranted in this

type of situation under the Colorado River doctrine, which “authorizes a federal

‘district court to dismiss or stay an action when there is an ongoing parallel action

in state court.’” Moorer v. Demopolis Waterworks & Sewer Bd., 374 F.3d 994, 997–

98 (11th Cir. 2004) (citing LaDuke v. Burlington Northern Railroad Co., 879 F.2d

1556, 1558 (7th Cir.1989)).

      Factors considered in the Colorado River analysis include: the desire to “avoid

piecemeal litigation,” whether state or federal law governs the issue, and whether

the state court can protect all parties’ rights. Id. at 987 (citation omitted). Each of

these factors warrants staying the litigation. Plaintiff’s complaint attacks state and

non-party county officials’ actions that purportedly violate state law: who can

lawfully cast a Georgia ballot under Georgia law and how county election officials

should verify the legitimacy of lawfully cast absentee ballots under Georgia law.

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Thus, the possibility of piecemeal litigation is real, concrete, and exceedingly likely

to occur. Finally, the relief that the parties in the state court challenges can obtain

would protect all parties’ rights. The remedies available to Georgia courts when

ruling on election challenges are spelled out in state law. See O.C.G.A. § 21-2-

527(d). To the extent that Plaintiff may now be precluded from obtaining that relief

due to his own dilatory state court litigation strategy, that does not counsel against

application of the Colorado River doctrine. Instead, under the circumstances of this

litigation, the Colorado River factors are satisfied, and the election challenge should

proceed in state court while this Court abstains from entertaining Plaintiff’s belated

attempt to circumvent the state court process.

VI.   Plaintiff Fails to Establish the Required Elements for Injunctive Relief.

      Finally, even if Plaintiff could overcome the jurisdictional defects that are fatal

to his claims, he still fails to satisfy the requirements for the extraordinary injunctive

relief they seek. “A preliminary injunction is an extraordinary remedy never awarded

as of right.” Winter v. Natural Res. Def. Council, 555 U.S. 7, 24 (2008). To prevail

on their motion, Plaintiffs are required to show: (1) a substantial likelihood of

prevailing on the merits; (2) that the plaintiff will suffer irreparable injury unless the

injunction issues; (3) that the threatened injury to the movant outweighs whatever

damages the proposed injunction may cause the opposing party; and (4) the

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injunction would not be adverse to the public interest. Duke v. Cleland, 954 F.2d

1526, 1529 (11th Cir. 1992). The Court “should pay particular regard for the public

consequences in employing the extraordinary remedy of injunction.” Winter, 555

U.S. at 24.

      A. Plaintiff is not likely to succeed on the merits of his claims.

      Election returns are presumed valid. Martin v. Fulton Cty. Bd. of Registration

& Elections, 307 Ga. 193, 267 (2019); Middleton v. Smith, 273 Ga. 202, 203 (2000);

Bailey v. Caldwell, 263 Ga. 111, 111 (1993). Registered electors are presumed to be

qualified voters. See, e.g, id.; O.C.G.A. § 21-2-217(b) (“the decision of the registrars

to whom such [voter] application is made shall be presumptive evidence of a

person’s residence for voting purposes”); O.C.G.A. § 21-2-522.1 (“Notwithstanding

any other provision of this chapter, for the purposes of election contests, a vote cast

by a person who has been listed on the official list of electors for a period of ten

years or longer shall be rebuttably presumed to be a legal vote despite an unsigned

voter registration card . . . .”). In addition “public officer[s,]” including election

officials, are “presumed, until the contrary appears, to have properly performed

[their] official duties and not to have exceeded [their] authority.” Fine v. Dade Cty.,

198 Ga. 655, 663 (1944); see also Scott v. DeKalb Cty. Hosp. Authority, 169 Ga.




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App. 257, 257 (1983). Given these presumptions, “great weight” is afforded to

election results. Meade v. Williamson, 293 Ga. 142, 143 (2013).

      “In the majority of cases in which [the Georgia Supreme Court] has affirmed

an order setting aside an election, [it has] required the evidence to show that a

sufficient number of electors voted illegally or were irregularly recorded in the

contest being challenged to change or cast doubt on the election.” Id. (citation and

quotations omitted).

             Indeed, the setting aside of an election in which the people
             have chosen their representative is a drastic remedy that
             should not be undertaken lightly, but instead should be
             reserved for cases in which a person challenging an
             election has clearly established a violation of election
             procedures and has demonstrated that the violation has
             placed the result of the election in doubt.

             But that is not all. [The Georgia Supreme Court] h[as]
             explained that it is not sufficient to show irregularities
             which simply erode confidence in the outcome of the
             election, and that elections cannot be overturned on the
             basis of mere speculation.

Martin, 307 Ga. at 193-94 (citation, quotations, and punctuation omitted) (emphasis

added). One challenging the election must show specific evidence of a sufficient

number of illegal or irregular ballots to put the election in doubt. Id.

      On top of this, “when the state legislature chooses to a statewide election as

the means to implement its power to appoint members of the electoral college” under


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U.S. Constitution, Art. II, § 1, as the Georgia General Assembly did in O.C.G.A. §

21-2-10, “the right to vote as the legislature has prescribed is fundamental.” Bush,

121 S. Ct. at 529. That right should accordingly not be disturbed lightly especially

after “millions of people lawfully cast their ballots.” Wood, 2020 WL 6817513 at

*38.

       Plaintiff seeks the unprecedented remedy of “de-certifying” the election

results, effectively disenfranchising millions of Georgians and precluding Georgia’s

votes in the 2020 presidential election from being counted at all. Plaintiff does this

based on so little, so late. The ballots have not only been cast, but they have been

counted three times—including through a statewide hand recount of every single

vote cast in Georgia. Additionally, Plaintiff’s allegation regarding absentee vote

counting has been rebutted through extensive investigations by the Georgia Bureau

of Investigation and the Secretary. See, e.g., ABM Signature Audit Report attached

as Exhibit M. The Secretary has further found absolutely no credible evidence of

voter fraud or other issues that would affect the outcome of the presidential election.

For instance, Plaintiff challenges the votes in Cherokee County, Georgia. The

Secretary’s investigation into those purported issues, including through recounting

all the ballots by hand, showed that votes cast were all valid. See Affidavit of Frances

Watson attached as Exhibit N at ¶¶ 11-15. Additionally, claims that “dead people”

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were voting and that there was mischief in the vote counting have been investigated

and debunked. See id. at ¶¶ 5-10.

      The Secretary has also investigated the claims of Plaintiff’s purported

“experts” in the state court action. That investigation has found that these “experts”

admitted speculation was both wrong and junk science. See, e.g., Affidavit of Chris

Harvey attached as Exhibit O; Declaration of Charles Stewart III attached as

Exhibit P; Daubert Motion attached as Exhibit Q. Plaintiff’s attacks on the March

2020 Settlement Agreement are not only wrong on the law, but they have already

been debunked by this Court. See Wood, 2020 U.S. Dist. LEXIS 218058, at *31

(rejecting arguments that the Settlement Agreement is invalid and noting that it “is

a manifestation of Secretary Raffensperger’s statutorily granted authority. It does

not override or rewrite state law. It simply adds an additional safeguard to ensure

election security by having more than one individual review an absentee ballot’s

information for accuracy before the ballot is rejected.”).

      When weighing whether the Plaintiff is likely to prevail on the merits given

the numerous recounts, the presumption of voter validity, and the absence of any

substantial evidence showing otherwise, it is evident Plaintiff is likely not going to

prevail on his claims—either in this Court or in state court. In his numerous legal

challenges, Plaintiff has propounded numerous theories and allegations in the hope

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that “something will stick.” A barrage of allegations and suits does not undermine

the facts and should not undermine our democracy.

      B. The harm to Plaintiff in denying the injunction is far outweighed by
         the harm to the Defendants and the public if the injunction were
         issued.

      Plaintiff contends he will suffer irreparable injury without an injunction

because, without Georgia’s electoral votes, he could lose the election. Even

accepting that is a legitimate harm, it is far outweighed by the substantial, indeed

fundamental, harm to the interests of the Defendants and the public should this court

issue an injunction nullifying the results of the presidential election.

      The remaining injunction factors—balancing the equities and public

interest—are frequently considered “in tandem” by courts, “as the real question

posed in this context is how injunctive relief at this eleventh-hour would impact the

public interest in an orderly and fair election, with the fullest voter participation

possible.” Curling v. Kemp, 334 F. Supp. 3d 1303, 1326 (N.D. Ga. 2018), aff'd in

part, appeal dismissed in part, 761 F. App’x 927 (11th Cir. 2019). The Court must

“balance the competing claims of injury and must consider the effect on each party

of the granting or withholding of the requested relief,” paying “particular regard as

well for the public consequences in employing the extraordinary remedy of

injunction.” Winter, 555 U.S. at 24.

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     Here, “the threatened injury to Defendants as state officials and the public at

large far outweigh any minimal burden on [Plaintiff].” Wood, 2020 U.S. Dist. LEXIS

218058 at *38. “Confidence in the integrity of our electoral process is essential to

the functioning of our participatory democracy,” and court orders affecting elections

“can themselves result in voter confusion and consequent incentive to remain away

from the polls.” Purcell, 549 U. S. at 4-5. For this reason, the Supreme Court “has

repeatedly emphasized that lower federal courts should ordinarily not alter the

election rules on the eve of an election.” Republican Nat’l Comm. v. Democratic

Nat’l Comm., 140 S.Ct. 1205, 1207 (April 6, 2020) (per curiam).

     The Eleventh Circuit has held that the Purcell principle applies with even

greater force when voting has already occurred. See New Ga. Project v.

Raffensperger, 976 F.3d 1278, 1283 (11th Cir. 2020) (“[W]e are not on the eve of

the election—we are in the middle of it, with absentee ballots already printed and

mailed. An injunction here would thus violate Purcell’s well-known caution against

federal courts mandating new election rules—especially at the last minute.”); see

also Sw. Voter Registration Educ. Project v. Shelley, 344 F.3d 914, 919 (9th Cir.

2003) (“Interference with impending elections is extraordinary, and interference

with an election after voting has begun is unprecedented.”). Here, the election has

already been conducted, and the slate of presidential electors has been certified.

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Granting Plaintiff’s extraordinary relief would only serve to “disenfranchise [] voters

or sidestep the expressed will of the people.” Donald J. Trump for President, Inc. v.

Sec’y Pennsylvania, No. 20-3371, 2020 U.S. App. LEXIS 37346 at *28 (3d Cir.

Nov. 27, 2020).

     As the district court in Wood correctly recognized, “To interfere with the result

of an election that has already concluded would be unprecedented and harm the

public in countless ways.” 2020 U.S. Dist. LEXIS 218058 at *37-38. Plaintiff seeks

even broader relief than that sought in Wood. If granted, Plaintiff’s requested relief

would disenfranchise not only Georgia’s absentee voters but would invalidate all

votes cast by Georgia electors.

                                  CONCLUSION

      For the foregoing reasons, Plaintiff’s motion for expedited declaratory and

injunctive relief should be denied.

      Respectfully submitted, this 4th day of January, 2021.

                                        Christopher M. Carr           112505
                                        Attorney General
                                        Bryan K. Webb                 743580
                                        Deputy Attorney General
                                        Russell D. Willard            760280
                                        Senior Assistant Attorney General

                                        /s/ Charlene S. McGowan
                                        Charlene S. McGowan               697316
                                          32
Assistant Attorney General
40 Capitol Square SW
Atlanta, GA 30334
cmcgowan@law.ga.gov
404-458-3658 (tel)


Christopher S. Anulewicz
Georgia Bar No. 020914
canulewicz@balch.com
James L. Hollis
Georgia Bar No. 930998
jhollis@balch.com
Jonathan R. DeLuca
Georgia Bar No. 228413
jdeluca@balch.com
Patrick N. Silloway
Georgia Bar No. 971966
psilloway@balch.com
BALCH & BINGHAM LLP
30 Ivan Allen Jr. Blvd. N.W., Suite 700
Atlanta, GA 30308
Telephone: (404) 261-6020
Facsimile: (404) 261-3656

Attorneys for Defendants




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                    /s/ Christopher S. Anulewicz
                                    Christopher S. Anulewicz
                                    Georgia Bar No. 020914




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

DEFENDANTS’           RESPONSE          TO      PLAINTIFFS’       MOTION   FOR

EXPEDITED DECLARATORY AND INJUNCTIVE RELIEF with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to

counsel for all parties of record via electronic notification.

      Dated: January 4, 2021.

                                         /s/ Christopher S. Anulewicz
                                         Christopher S. Anulewicz
                                         Georgia Bar No. 020914




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